 4:04-cr-03099-RGK-DLP    Doc # 24   Filed: 09/19/05   Page 1 of 1 - Page ID # 52




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,              )
                                       )
       Plaintiff,                      )     4:04CR3099
                                       )
       v.                              )
                                       )
                                       )       ORDER
ROBERT VYHNALEK, ROSE VYHNALEK         )
and RICHARD CRAWFORD,                  )
                                       )
       Defendants.                     )



       IT IS ORDERED,

       The joint oral motion of counsel is granted and,

       The change of plea is continued to October 6, 2005 at 3:00
p.m.

     For these defendants, the time between today’s date and the
hearing on the anticipated plea of guilty is excluded for
purposes of computing the limits under the Speedy Trial Act.
See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

       Dated September 19, 2005.


                                     BY THE COURT


                                     s/    David L. Piester
                                     David L. Piester
                                     United States Magistrate Judge
